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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                              Criminal Case No: 1:23-cr-124-ACR


UNITED STATES OF AMERICA,

v.

MICAH COOMER,

            Defendant.
_______________________________________/

               DEFENDANT COOMER'S SENTENCING MEMORANDUM

                     Administrative Separation Documents Exhibit 2/B

The following documents are provided:

     1. Coomer Statement to Board: this is a transcript of the statement that Coomer provided to

        the administrative board convened to determine if Coomer should be separated. It's an

        open/public board and the statement contains Coomer's expression of remorse for his

        actions.

     2. Coomer Board: Verdict (Findings Recommendation) recommending retention.

     3. General Smith Letter to the Secretary of the Navy

     4. General Smith Page 11 - Not Honorable

     5. General Gering page 11 - Not Honorable




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                                Respectfully submitted,

                                /s/ Phillip Stackhouse

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Corporal Micah Coomer (00:02):
Good afternoon, gentlemen. First, I'm sorry I had to take you away from work, to be present on this
board. The documents before you and those binders are not a very good picture of myself and I hope
that you have taken the time or will take the time to compare the government's documents with the
letters I have provided and the service I have given.
(00:29):
Late 2020 [00:00:30] and early 2021, was a strange time for me, and as I have reflected and read more,
it was a strange time for a lot of people. For me, I was 21 years old. I had grown up in the suburbs of
Muncie, Indiana, which on paper, sounds bigger than it is. It's a small Midwest town with a good-sized
college campus. [00:01:00] I come from a conservative family, both politically and socially. That's fairly
typical of Midwest families in central Indiana.
(01:12):
I had never traveled much before joining the Marine Corps, and I would describe myself as not a political
person. Going, going to boot camp was the first time I was out on my own. With [00:01:30] leave travel
time, my first year in the Marine Corps was spent in the training pipeline. Boot camp was on September
10th, 2018, followed by MCT1 and then my MOS2 school in Goodfellow Air Force Base, where I
graduated on August 20th, 2019. I reported to Quantico on September 9th, 2019. I was assigned to the
information operations center when I got to Quantico. [00:02:00] It was an exciting time for me.
(02:03):
I was on my own for the first time. I had made some friends at work and in the barracks. Corporal Dodge
Hellonen and Corporal Joshua Abate, among others. I was learning my job and more about the Marine
Corps. My views stayed consistent with how I was raised. Stafford County was conservative and quite a
bit [00:02:30] like back home and when the presidential elections started heating up in late 2019, early
2020, I became more engaged in politics.
(02:43):
President Trump was aggressive. It seemed like he was very pro-military. He had Marines as the
Secretary of Defense and Chief of Staff for a while. And it felt like he was there for the little guy,
[00:03:00] the way he pardoned soldiers and sailors for what had happened in war. I supported all of
that back then. He had very powerful people supporting him, senators and congressmen and women
and from my state, my governor was the vice president.
(03:21):
Rudy Giuliani was like a hero from 9/11, but today he almost seems crazy. [00:03:30] This was a very
exciting time for me and my friends. There were rallies all over the country and while President Trump
didn't have any close by, there was a Second Amendment rally at the capitol building in Richmond, in
January of 2020. Me, Joshua, and Dodge attended the Second Amendment rally. There were speeches,
people were [00:04:00] carrying weapons and standing next to law enforcement officers and a huge
veteran contingent. It was, it was very motivating.
(04:10):
Throughout 2020, I continued to watch the news, mostly Fox, but some other conservative news as well.
I got most of my news and information from podcasts because I didn't have cable in the barracks. During
[00:04:30] this time, I was a big supporter of President Trump. He was the first president I was able to

1
    Marine Combat Training.
2
    Military Occupational Specialty.



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vote for when after I turned 18. When the election results came back, I was disappointed, not crushed,
but disappointed. Some news made it sound unfair, and I felt that way after a while. And I heard on the
news that President Trump was losing court cases and that he [00:05:00] had appointed some of the
judges that ruled against him. It was very confusing.
(05:06):
In the first part of January, Dodge, Josh, and myself heard there would be a rally in DC. The three of us
decided to try and go, but we didn't end up planning it very well. We had to work that morning, and I
remember that after work, we went back to the barracks. I ate lunch, and myself [00:05:30] and Dodge
went to Josh's on-base house and picked him up, and drove to DC. We crossed the 14th Street bridge
and drove across the National Mall but the crowd was all by the Capitol [building].
(05:50):
We parked in a parking garage in the Penn Quarter area and walked south to the Capitol building. Many
people were there, some watching and some yelling chants like, "Four [00:06:00] more years," and,
"Make America Great Again." There were people at the top of the stairs with bullhorns giving speeches,
and others in different places just yelling in a bullhorn. You couldn't understand it. It was very chaotic.
The first part of the Capitol building was what I now know as the Senate side. We were at the back for a
while, and the people started going in.
(06:29):
I didn't see any [00:06:30] violence like I've seen on TV and read about later. When people started going
in, we went in too. It was very strange as we entered. Capitol Hill Police were standing there, not saying
or doing anything. I took pictures and selfies while I was in there. I texted and talked to my mother. The
one thing we did that was a joke was putting a MAGA hat on a statue and taking pictures of it. Neither I
nor the other two [00:07:00] I was with did anything other than be there. We didn't yell at anyone,
break anything, hurt anyone, or even pretend to do those things.
(07:12):
When we got to Quantico that evening, I heard about the real chaos on the news. We hadn't... We
weren't part of any of that. Afterward, I didn't talk to people about it. I felt awful once I saw and heard
on the news [00:07:30] what was happening in other parts of the Capitol. Being there was exciting for
me, but it seems impulsive after the fact. I never went there to hurt anyone or be a part of hurting
anyone. In March of 2021, I got married to Kerissa, who was also [00:08:00] a new Marine. In August
2021, I PCS'd3 to Camp Pendleton, so Kerissa and I would be together, and I was assigned to 1st Radio
Battalion.
(08:09):
I worked hard learning my job, acclimating to California and married life and being as good of a Marine
as I could. I live in base housing, and Kerissa and I are, are building a family together and saving money.
We have a dog and both of us are working hard as [00:08:30] Marines. This January, I was at work and
my first sergeant stopped me when I was coming out of the head.4 He took me to NCIS5 and I met with
NCIS and the FBI for what seemed to be like two to three hours. I explained to them everything I... that I
had done. After meeting with them, I was taken to downtown San Diego, processed and released to
pretrial [00:09:00] services.
(09:03):

3
  Permanent Change of Station - when one moves to a different duty station for a tour of duty.
4
  Restroom Facility.
5
  Naval Criminal Investigative Service



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I've been compliant since January, except for missing one phone call due to a misunderstanding.
Virtually, I sat with the Assistant United States Attorney who is in Eugene, Oregon, and I described
everything again in a proffer session. With Mr. Stackhouse['s guidance], I was able to find additional
information to help, and we shared that with the prosecutor.
(09:30):
[00:09:30] About a week later, we entered into an agreement, and that's what you have before you. I
hope that the exhaustive investigation the FBI did into January 6th and of me personally (which includes
over 1,000 pages of evidence, videos, and forensics on my cell phone), that if I did more than unlawfully
parading in the Capitol, they would have [00:10:00] held me accountable for it.
(10:02):
...
Not [00:10:30] to minimize, I was in the wrong. I regret going to the Capitol building on January 6th. And
like I will tell the judge in September at my sentencing, I'm sorry and I'm trying to make amends by my
actions, not just words.
(10:51):
I'd rely on the statements provided to show you I have potential for future service but know [00:11:00]
that I would love to continue my service in the Marines. Joshua and Dodge were able to re-enlist before
we were arrested in different locations in January. I'd love to be able to re-enlist too, but I don't know
that the CO would endorse me. In the end, if I can't re-enlist, I hope to be able to serve until the end of
my contract and keep my GI Bill so I can go to school and support my family. Thank you, gentlemen.




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